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                     Exhibit A
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                                                      IN THE CIRCUIT COURT, FOURTH
                                                      JUDICIAL CIRCUIT, IN AND FOR
                                                      DUVAL COUNTY, FLORIDA

                                                      CASE NOS.:            16-2022-CA-1047

                                                      DIVISION:             CV.F

         CHARLES STOVALL WEEMS, IV and
         KERRI WEEMS,

                Plaintiffs,




         CELEBRATION CHURCH OF
         JACKSONVILLE, INC., KEVIN
         CORMIER, MARCUS ROWE,
         ANGELA CANNON, JACOB WILLIAM,
         and LEE WEDEKIND, III,

                Delendants.




                       ORDER GRANTING DEFENDANTS' MOTIONS TO DISMISS

                This matter comes before the Court on "Motion of Defendant Lee Wedekind, III, to

         Dismiss for Lack of Subject-Matter Jurisdiction," and "Celebration Church ofJacksonville Inc.,

         Kevin Cormier, Marcus Rowe, Angela Cannon, and Jacob William's Motion to Dismiss Third

         Amended Complaint for Lack of Subject-Matter Jurisdiction," both filed on November 17 ,2022.

         On December 16,2022, Plaintiffs filed their response in opposition to the motions to dismiss. On

         August 3, 2023, this Court held a hearing on the motions to dismiss.

                On September 28,2022, this Court issued an Order dismissing without prejudice Plaintiffs'

         Second Amended Complaint for lack ofsubject matter jurisdiction and granting Plaintiffs leave to

         file an amended complaint raising causes of action that could be decided solely on neutral

         principles of secular law without impermissibly wading into ecclesiastical waters. On October 18,
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  2022, Plaintiffs filed their Third Amended Complaint. This Court must again dismiss Plaintiffs'

  complaint for lack of subject matter jurisdiction-this time with prejudice.

                                        Overview of the Dispute

         This dispute revolves around a report (the "Report") commissioned by Celebration Church

  of Jacksonville, Inc. (the "Church") through its co-defendant trustees and drafted in-part by co-

  defendant Lee Wedekind, III to investigate Plaintiffs' possible misconduct in their pastoral roles.

  While the investigation was on-going, Charles Stovall Weems, IV ("Pastor Stovall Weems")

  resigned from the Church. The Church published the completed Report on its website, finding

  Pastor Stovall Weems had breached his fiduciary duties to the Church through fiaud and self-

  dealing and that the Pastors failed generally to fulfill the biblical standards for church leadership.

         Plaintiffs sued, asserting causes of action for defamation, conspiracy to defame, invasion

  of privacy, public disclosure of private facts, intentional infliction of ernotional distress, and

  conspiracy to invade privacy. Defendants contend this Court lacks subject matter jurisdiction under

  the ecclesiastical abstention doctrine, despite Plaintiffs efforts to amend, because adjudication of

  the present dispute would require adjudication of a religious quarrel. This Court agrees.

                                 The Ecclesiastical Abstention Doctrine

         The ecclesiastical abstention doctrine is rooted in the fiee exercise and establishment

  clauses of the Constitution and provides a categorical institutional barrier against secular courts

  olficiating religious controversies. See Napolitano v. St. Joseph Catholic Church,308 So. 3d 274,

  277 (Fla.5th DCA 2020). This jurisdictional bar adheres to disputes over church polity and

  administration. Id. at 2'78. "[T]he doctrine precludes secular courts from exercising jurisdiction

  over ecclesiastical disputes, those about 'discipline, faith, intemal organization, or ecclesiastical

  rule, custom, or law,' as distinguished from 'purely secular disputes between third parties and a



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  particular defendant, albeit a religiously affiliated organizati on."' Id. (quoling Malichi v. Doe, 814

  So. 2d 347, 357 (Fla. 2002)). A court has jurisdiction to decide secular disputes involving a

  religious entity using neutral legal principles only if "'no issue of doctrinal controversy is

  involved."' Napolitano,30S So. 3d at 278 (quoting Jones v. Wolf,443 U.S. 595, 605 ( 1979).

                  Application of the Ecclesiastical Abstention Doctrine to the Presenl Dispute

          This Court finds judicial resolution of Plaintiffs' causes of action would require it to

  impermissibly engage in a doctrinal squabble involving the Church's biblical standards,

  administration, financial policies, and disciplinary practices, and decide whether the Pastors'

  personal, spiritual, and administrative conduct fulfilled those standards.

          The third amended complaint omits mention of large sectionsl of the Report related to the

  underlying power struggle between the Pastors and Board, as well as the Pastors alleged failure to

  abide by biblical leadership standards. These omissions are necessitated by the ecclesiastical

  abstention doctrine's prohibition on "intrud[ing] on a church's autonomous management of its

  own intemal affairs," Flynn v. Estevez,22l So. 3d 1241, 1246 (Fla. lst DCA 2017), such as

  "'inquiring into the adequacy of the religious reasoning behind the dismissal ofa spiritual leader."

  Diocese of Palm Bch., Inc. v. Gallagher,249 So. 3d 657, 663 (Fla. 4th DCA 2018) (quoting

  Goodman v. Temple Shir Ami, lnc.,7125o.2d775,717 (Fla.3d DCA 1998)).

          Instead, the most recent complaint hones in on a few specific segments of the Report. It

  first focuses on the allegations of financial improprieties. Plaintiffs posit that "[t]he falsity of Ithe

  alleged financial improprieties] can be determined by comparing those [allegations] to documents

  and events and applying secular law to decide whether Plaintiffs did in fact embezzle, misuse, or




  I The Report is attached to the Third Amended Complaint and must therefore be considered-in its entirety-as a part
  of the complaint for all purposes. Sprfughill Missionary Baptist Church, Inc. v. Mobley,25l So. 3d 281, 283 (Fla. I st
  DCA 2018) (citing Fla. R. Crim. P. 1.130(b).

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  misappropriate church funds for personal gain or engage in other acts that result[ed] in financial

  losses to the church." Indeed, it is likely possible for this Court to determine whether the Pastors

  made any material representations about, or personally benefitted from, any of these financial

  transactions without delving into questions involving biblical dogrna or church polity.

         But this Court cannot pass on the myriad other questions invariably arising in this dispute.

  First, this Court is not permitted to determine the proper scope of the Pastors' spending powers

  (including whether these transactions required board approval) or whether the riskiness ofcertain

  investments aligned with the Church's missions or fiduciary duties to its tithing members. Those

  questions can only be answered by church leadership-not this Court. Second, this litigation will

  require adjudication ofDefendants' qualifred privilege to publish the Report based on their senior

  leadership roles within the church. See Lundquist v. Alewine,397 So. 2d I 148, I 149 (Fla. 5th DCA

  1981) ("The elements essential to the finding ofa conditionally privileged publication are (l ) good

  faith, (2) an interest to be upheld, (3) a statement limited in its scope to this purpose, (4) a proper

  occasion, (5) publication in a proper manner."). Put simply, this Court lacks authority to judge the

  legitimacy of a religious interest or whether efforts to uphold that religious interest were

  appropriate. Third, the Report must be analyzed under the substantial truth doctrine, requiring it to

  be considered in the full context of its publication.   Kiffir v. Atheists of Fla., Inc.,269 So. 3d 656,
  659 (Fla. 2d DCA 2019). Plainly, the Report cannot be assessed in its fult context without

  consideration of the large swaths that were carefully excised from the third amended complaint.

         This Court is likewise barred from adjudicating the propriety of the Report discussing

  Pastor Kerri Weems's depression and suicidal ideation. The Report's mention of Pastor Kerri

  Weems's mental health struggles must be considered within the context in which they were

  raised-namely, in response to herhusband's alleged encounter with Jesus Christ. This theophanic



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  encounter was mentioned in the Report because it seemingly precipitated, and provided some

  explanation for, many of the leadership issues occasioning the Pastors' ouster. But, again,

  consideration of the entire Report would require this Court to second-guess the church's decision

  to remove the Pastors or its reasoning for doing so.

         At bottom, resolution of this dispute would require this Court enmesh itself into the

  decision of who should lead the Church-this is something it cannot do:

         When it comes to the expression and inculcation ofreligious doctrine, there can be
         no doubt that the messenger matters. . . . [T]he content and credibility ofa religion's
         message depend vitally on the character and conduct of its teachers. A religion
         cannot depend on someone to be an effective advocate for its religious vision ifthat
         person's conduct fails to live up to the religious precepts that he or she espouses.
         For this reason, a religious body's right to self-govemance must include the ability
         to select, and to be selective about, those who will serve as the very "embodiment
         of its message" and "its voice to the faithful."

  Hosanna-Tabor Evangelical Lutheran Church & Sch. v. E.E.O.C.,565 U.S. 171,201 (2012) (J.

  Alito, concurring) (quoting Petruska v. Gannon Univ., 462 F.2d 294,306 (3d Cir. 2006)).

  Therefore, the ecclesiastical abstention doctrine deprives this Court of subject matter jurisdiction

  over the present dispute, and no amendment can circumvent this constitutional prohibition. ,See

  Grove Isle Ass'n, Inc. v. Groye Isle Assocs., LLLP,l37 So. 3d 1081, 1090 (Fla. 3d DCA 2014).

         Accordingly, it is ORDERED that Plaintiffs' "Third Amended Complaint," filed on

  October 18,2022, is DISMISSED WITH PREJUDICE.

         DONE AND ORDERED in Jacksonville, Duval County, Florida on October 6,2023.



                                                                                             A'iln'
                                                         MARIANNE L. AHO
                                                         Circuit Judge

  Copies fumished to all counsel of record

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